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                     UNITED STATES DISTRICT COURT
                                                 for the

                                      Southern District of Illinois

Brianna Murden,                                    )
                   Plaintiff                       )
                                                   )
                     v.                            )       Case Number: 3:22-cv-01511
Meta Platforms, Inc., Facebook Holdings,           )
LLC, Facebook Operations, LLC,                     )
Facebook Payments, Inc., Facebook                  )
Technologies, LLC, Instagram, LLC, and             )
Siculus, Inc.,                                     )
               Defendants                          )


                               ENTRY OF APPEARANCE

        To the Clerk of Court and all parties of record:

              I hereby enter my appearance as counsel for Defendants Meta Platforms, Inc.,
Facebook Holdings, LLC, Facebook Operations, LLC, Facebook Payments, Inc., Facebook
Technologies, LLC, Instagram, LLC, and Siculus, Inc.

        DATED: September 7, 2022
                                                           /s/ Patricia Brown Holmes
                                                           Signature

                                                           Patricia Brown Holmes
                                                           Name

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